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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

HECTOR HERNANDEZ and
CHARLES TERMINI, individually, and on behalf
of all others similarly-situated,

        Plaintiffs,                                               Case No. 18-cv-7647

v.                                                                The Honorable Judge John Z. Lee

WILLIAM HELM, in his individual capacity;                         Magistrate Judge Sidney Schenkier
KEVIN MARTIN, in his individual capacity; and,
the CITY OF CHICAGO, as a municipal
corporation and as indemnitor,

        Defendants.

 UNOPPOSED CASS THOMAS CASPER’S MOTION TO WITHDRAW AS COUNSEL

        NOW COMES, Cass Thomas Casper, Esq., and moves this Honorable Court for leave to

withdraw as counsel from the above-captioned cause for the following reasons:

     1. At a status hearing on December 3, 2019, the Court invited a Motion to Withdraw such as

        this.

     2. The undersigned accepted that invitation and so notified chambers on December 10, 2019

        via email.

     3. During the status hearing, counsel for all Defendants stated that they would not oppose

        this Motion.

     4. The undersigned notes that this withdrawal is being done in light of the particular stress

        and personal issues same is causing on the undersigned in connection with the above-

        referenced matter, which are particularly exacerbated by undersigned’s history with the

        Plaitniffs’ Union that is in the backdrop of this case.
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   5. In order to avoid further distraction, and to move the case forward expeditiously, as well

       as to allow time to deal with the aforementioned personal matters, the undersigned has

       made the decision to request leave to withdraw.

   6. The undersigned intends to remain responsible for any sanctions that should be imposed,

       in the event any are imposed in connection with the current pending motion (and

       undersigned submits same are unwarranted), and this Motion is not filed in order to avoid

       same (nor could it).

                                       CONCLUSION

       For the foregoing reasons, the undersigned respectfully requests that this Honorable

Court grant this Motion to Withdraw as Conusel.

                                                   Respectfully submitted,

                                                           /s Cass T. Casper
                                                    By: _____________________________
                                                           One of Plaintiffs’ Attorneys
Cass T. Casper, Esq.
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on December 11, 2019, he caused to be served the

accompanying Cass T. Casper’s Motion to Withdraw as Counsel on counsel for all Defendants

via this Court’s CM/ECF filing system, and that counsel for all Defendants are


                                                    /s Cass T. Casper
                                                    ____________________________________



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